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 1                               UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3 RICARDO QUINTANILLA,                                      Case No. 2:20-cv-00211-GMN-NJK

 4                                         Petitioner,                      ORDER

 5 v.

 6 BRIAN WILLIAMS, et al.,

 7                                     Respondents.

 8
            Respondents having filed an unopposed motion for enlargement of time (second request)
 9
     (ECF No. 67), and good cause appearing;
10
            It is therefore ordered that respondents’ unopposed motion for enlargement of time
11
     (second request) (ECF No. 67) is granted. Respondents will have up to and including August 8,
12
     2022, to file a response to petitioner’s motion for reconsideration.
13
            Dated: June 23, 2022
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15                                                                 Gloria M. Navarro, Judge
                                                                   United States District Court
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